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                       Civil Action No. 17-cv-01910-REB
                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO

   Bankruptcy No. 16-21204 KHT, Chapter 13
   Adversary No. 17-01066 KHT

   IN RE:

   LINO MIRANDA MUNOZ,
        Debtor.

   SUPERIOR CLEANING SERVICE, LLC
       Appellant,
   v.

   LINO MIRANDA MUNOZ,
        Appellee.


                         APPELLANT’S REPLY BRIEF


          On appeal from Adversary Proceeding No. 17-01066 KHT before the United
   States Bankruptcy Court for the District of Colorado.

   DATED this 21st day of November, 2017.
                          Respectfully submitted by:

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             RESPONSE TO DEBTOR’S STATEMENT OF THE CASE

         Appellant Superior Cleaning Service, LLC (“Superior”) files this Reply Brief

   to respond to and provide complete information regarding certain statements made

   by Debtor/Appellee Lino Miranda Munoz (“Debtor”) in his Appellee’s Response

   Brief (“Response Brief”).       As previously argued in Appellant’s Brief, the

   Bankruptcy Court erred in its assessment of Cohen and 11 U.S.C. § 523(a)(2)(A)

   with respect to the Debt at issue. Additionally, Superior is entitled to recovery of its

   fees and costs expended in successful dischargeability litigation because of the fee-

   shifting provision of the Independent Contractor Agreement, reproduced above, and

   in accordance with In re Busch, Traveler’s, and Butner.

         First, Debtor states that “[o]n March 19, 2015, Superior moved for an award

   of attorneys’ fees under the Independent Contractor Agreement, which provided that

   ‘[i]n the event of any dispute arising from or related to this agreement, the prevailing

   party shall be awarded reasonable attorneys’ fees and costs.’” (Response Brief, p.

   8). However, Debtor failed to provide the Court with complete information. While

   it is true that Superior requested an award of fees and costs under the Independent

   Contractor Agreement, Superior included the fraud claims against Debtor in the

   attorney fee request. Paragraph 11 of the March 19, 2015 Motion for Attorneys Fees

   filed in the State Action (“Motion”) provides:

                In addition to prevailing on [Debtor’s] claims, [Superior]
                also prevailed on its counterclaims…Since [Superior]
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                 prevailed on its breach of contract counterclaim, it is also
                 entitled to an attorney fee award under the contract for that
                 victory. In addition, [Debtor’s] counterclaim for fraud
                 arose out of the contract because it involved fraudulent
                 billing by [Debtor] for work performed under the contract.
                 Therefore, it is also subject to the fee-shifting provisions
                 of the contract.

   A copy of the Motion is attached hereto as Exhibit 1.

   As is particularly relevant here, Superior cited Bedard v. Martin, 100 P.3d 584, 593

   (Colo. Ct. App. 2004) in support of its argument for fees in the State Action:

                 When contractual attorney fee shifting provisions include
                 language such as “arising from or related to this
                 agreement,” it means any and all claims which “originate
                 from, grow out of, or flow from” the contractual
                 relationship. Bedard v. Martin, 100 P.3d 584, 593 (Colo.
                 App. 2004).

   Ex. 1, ¶ 9.

   Based on this Motion, the State Court awarded Superior its fees and costs for the

   first time. As detailed in Superior’s Appellant’s Brief, Superior was awarded its

   additional fees and costs in a subsequent judgment due to Debtor’s frivolous

   attempts to obtain relief from the judgment. Ultimately, Superior’s multiple awards

   were consolidated into the judgment at issue here (the “Debt”). Because the Debt is

   traceable to and stems from Debtor’s fraud, as determined in the State Action, the

   Debt constitutes a “liability arising from money, property, etc. that is fraudulently

   obtained,” and Superior is entitled to recover, in full, its “attorneys’ fees and other

   relief that may exceed the value obtained” by Debtor. Cohen v. de la Cruz, 523 U.S.
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   213 (1998); 11 U.S.C. § 523(a)(2)(A).             Thus, the Debt, in its entirety, is non-

   dischargeable.


                                RESPONSE TO ARGUMENT

        I.      The Full Amount of the Debt is Non-Dischargeable


             In support of his argument that the Bankruptcy Court may “determine the

   amount of debt excepted from discharge1,” Debtor cites to Nelson v. Tsamasfyros

   (In re Tsamasfyros), 940 F.2d 605 (10th Cir. 1991) and In re Luna, 2011 WL 144906

   (Bankr.D.N.M. Jan. 18, 2011)(memo op.).               Curiously, however, neither case

   supports Debtor’s position, and Debtor only cites to a misleading portion of each

   case.

             Contrary to Debtor’s insinuation, dischargeability truly is “an ‘all or nothing’

   proposition.” In re Tsamasfyros, 940 F.2d at 608. However, Debtor’s citation to this

   case omits the very next sentence of the In re Tsamasfyros opinion: “It logically

   follows that a state court’s calculation of damages may not be collaterally attacked

   in the bankruptcy court.” 940 F.2d at 608, See e.g., In re Hopper, 71 Bankr. 67, 68

   (Bankr. D. Colo. 1987). The facts of In re Tsamasfyros are informative here because

   the case dealt with a state court judgment involving multiple claims, one of which

   was for breach of fiduciary duty. 940 F.2d at 605. After a four-day bench trial, the


   1
       Response Brief, p. 12
                                                 6
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   state district court found, among other things, that “…Dr. Tsamasfyros’ actions in

   breaching his fiduciary duties were attended by circumstances of fraud…” Id. Dr.

   Tsamasfyros thereafter filed for Chapter 7 Bankruptcy protection in the Western

   District of Oklahoma. The state court creditor, L. Bruce Nelson, disputed the

   dischargeability of his judgment against Dr. Tsamasfyros, arguing that the debt was

   non-dishargeable under 11 U.S.C. § 523 and Dr. Tsamasfyros was collaterally

   estopped from “contending otherwise.” Id. The bankruptcy judge ultimately found

   in Mr. Nelson’s favor, ordering the debt non-dischargeable under 11 U.S.C. §

   523(a)(2)(A). Id. at 606. On appeal, the district court affirmed the result, but found

   that the debt was ‘more logically’ non-dischargeable under 11 U.SC. § 523 (a)(4).

   Id.

           As is relevant here, the In re Tsamasfyros Court found that “the principle of

   collateral estoppel precludes Tsamasfyros from relitigating the same matter” and

   that:

                 Nelson’s claim against Tsamasfyros is grounded on a
                 judgment which he obtained in state court, after trial.
                 Tasmasfyros did not appeal the state court’s judgment,
                 either on its merits or the amount of damages. Under the
                 principle of collateral estoppel, Tsamasfyros is precluded
                 from relitigating either in his bankruptcy proceeding.

   Id. at 607-608.

           The same logic should be applied here. Superior’s claim against Debtor is

   grounded on a state court judgment, obtained after a four-day jury trial. Debtor did
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   not appeal the state court judgment that constitutes the Debt, and the Bankruptcy

   Court here erroneously found the vast majority of said Debt to be dischargeable.

         Similarly, In re Luna does not support Debtor’s position, and again, Debtor

   cherry-picks his case law. Debtor asserts that the Bankruptcy Court is not precluded

   “from limiting non-dischargeablility to ‘the share of money, property, etc. that is

   obtained by fraud.’”2 In reality, In re Luna interpreted Cohen to mean that the

   “phrase ‘to the extent obtained by’ in 11 U.S.C. § 523(a)(2)(A) “makes it clear that

   the share of money, property, etc. that is obtained by fraud gives rise to a non-

   dischargeable debt. Once it is established that specific money or property has been

   obtained by fraud, however, ‘any debt’ arising therefrom is excepted from

   discharge.” In re Luna, *44. Stated another way, per In re Luna Court: “[I]f a debt

   is made up of several “shares” and one share is money or property obtained by fraud,

   the other shares are nondischargeable. But the share obtained by fraud, and all debts

   arising from or related to that share (e.g. punitive or treble damages) are

   nondischargeable.” Id.3 Advancing this argument further to attorneys fees and costs,

   Debtor does not dispute in the Response Brief that Cohen expressly allows for the

   recovery of “attorneys fees and costs of suit associated with establishing fraud” in



   2
    Response Brief, p. 13
   3
    In re Luna also references Justice Thomas’ dissent in Archer v. Warner, 538 U.S.
   314, 325-26 (2003) in support of this argument. Debtor also cites to page 325 of the
   Archer case, but presents this dissent as a holding of the Court.
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   order for a victim to be made whole. 523 U.S. at 223. The Debt is not comprised of

   “shares” as contemplated in In re Luna. Indeed, as stated in In re Lyons, 454 B.R.

   174, 178 (Bankr. D. Kan. 2011): “All facets of the judgment are not dischargeable,

   for the law provides ‘[i]f a debt is found nondischargeable under [§523(a)(2)], all

   parts of the debt, including punitive damages and previously awarded attorneys fees

   are nondischargeable[.]”

         As previously argued in Appellant’s Brief and as demonstrated by the State

   Action record, the jury in the State Action found that Debtor had committed “actual

   fraud” and entered damages against Debtor in the amount of $12,500.00. By March

   19, 2015 (the date of filing of Exhibit 1 attached hereto), Superior had incurred

   substantial attorneys fees and costs to both defend against, and establish its case

   against, Debtor. Subsequently, Debtor forced Superior to incur even more fees and

   costs in order to protect its judgment. The Debt represents the collective efforts of

   Superior to establish and protect its judgment against Debtor for the actual fraud

   Debtor committed. It is irrelevant that the fees were awarded to Superior by a

   contractual provision; Superior included the fraud claims against Debtor in the

   attorney fee request as a “prevailing party” on that counterclaim.    Therefore, the

   Debt, in its entirety, is non-dischargeable and Debtor’s reliance on Cherry v.

   Neuschafer (In re Neuschafer), 2014 WL 2611258 (10th Cir. BAP June 12,

   2014)(slip. Op.) is misplaced.


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            Debtor relies on In re Neuschafer to support its argument that the Bankruptcy

   Court did not err in excluding the attorneys fees and costs from the amount excepted

   from discharge. However, the facts of In re Neuschafer differ. For purposes of

   brevity, as relevant here, because it was “unclear” whether the attorneys fees

   awarded by the state court in In re Neuschafer were based on a non-dischargeable

   claim (fraud) or a dischargeable claim (racketeering), the award was found to be

   dischargeable. Id. at *37. The attorneys fees at issue in In re Neuschafer were

   awarded based on a Georgia statute compensating plaintiffs for “unnecessary trouble

   and expense” resulting from bad faith litigation. Ga. Code. Ann. § 13-6-11 (1984);

   Id. at *37. Because the state court found only that the Cherrys were “entitled to”

   fees under § 13-6-11 and made no further record as to which claim the fees were

   attributable to, the BAP “could not say” that the Bankruptcy Court erred in excluding

   the debt for attorneys fees and costs from discharge. Id. at *37.

            Here, the State Action record supports Superior’s argument that the fees and

   costs it incurred, which comprise the Debt, arose from and are attributable to the

   establishment of Debtor’s fraud. Thus, as established in Appellant’s Brief based on

   Cohen, the Debt is non-dischargeable.

      II.      Superior’s Fees And Costs Incurred In The Adversary Proceeding
               Are Recoverable And Non-Dischargeable

            According to Debtor, Superior is not entitled to recover its fees and costs

   expended in the Adversary Proceeding, even though Superior is the prevailing party.
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   Debtor next argues in response to Superior reliance on In re Busch, 369 B.R. 614

   (10th Cir. BAP 2007), that In re Shahid, 254 B.R. 40 (10th Cir. BAP 2000) is more

   persuasive here. First, as was the case in In re Busch, Superior has incurred attorneys

   fees and costs in the Adversary Proceeding, and again, in this appeal to enforce its

   Debt. Relying on the reasoning of the U.S. Supreme Court in Traveler’s Casualty

   & Surety Co. v. Pacific Gas & Elec. Co., 549 U.S. 443 (2007), In re Busch

   specifically acknowledges the availability of fees and costs to a prevailing litigant in

   an Adversary Proceeding (even when such fees and costs were awardable by statute

   and not contract):

                Although in Travelers, the issue was raised in the context
                of attorney's fees which were shifted by contract, the
                reasoning in Travelers is equally applicable to attorney's
                fees shifted by state statute. This is particularly so given
                the Supreme Court's emphasis on the long-recognized
                principle that the basic federal rule in bankruptcy is that
                state law governs the substance of claims. Id. at 1205.
                Further, the Supreme Court stated “ ‘[p]roperty interests
                are created and defined by state law,’ and ‘[u]nless some
                federal interest requires a different result, there is no
                reason why such interests should be analyzed differently
                simply because an interested party is involved in a
                bankruptcy proceeding.’ ” Id. (quoting Butner v. United
                States, 440 U.S. 48, 55, 99 S.Ct. 914, 59 L.Ed.2d 136
                (1979)).

   In re Busch, 369 B.R. 614, 625 (B.A.P. 10th Cir. 2007).

         Superior is the prevailing party in the Adversary Proceeding, despite the errors

   made by the Bankruptcy Court in assessing the Debt under 11 U.S.C. § 523(a)(2)(A),


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   and is entitled to recover its fees and costs pursuant to the Independent Contractor

   Agreement. Alternatively, precisely because the Bankruptcy Court erred in its

   findings with respect to the applicability of Cohen to the Debt, Superior is the

   prevailing party. Either way, because the fees and costs Superior has incurred in the

   dischargeability litigation would be awardable under Colorado state law via the

   Independent Contractor Agreement, Superior is entitled to the recovery of said fees

   and costs here pursuant to In re Busch, Traveler’s, and Butner v. United States, 440

   U.S. 48 (1979). Of note, In re Busch specifically addressed the issue of non-

   dischargeability under § 523(a). Debtor’s argument as to the applicability of In re

   Shahid here is unpersuasive.

         As Debtor points out, In re Shahid concerns the denial of the debtor’s

   discharge under § 727. However, the crucial difference between the fee-shifting

   provisions of In re Shahid and the instant appeal is the content of each provision. In

   In re Shahid, the creditor prevailed on a complaint to deny debtor’s Chapter 7

   discharge for fraudulently transferring assets, but was unable to use the fee shifting

   provision in its promissory note with debtor to recover “prevailing party” attorneys

   fees, since a proceeding to deny debtor’s discharge was not action upon the

   promissory note. 254 B.R. at 43. Importantly, the fee-shifting provision identified

   in In re Shahid reads as follows: “In the event of any default in the payment of this

   note and if suit is brought hereon, the holder thereof shall be entitled to collect in


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   such a proceeding all reasonable costs and expenses of suit, including, but not

   limited to, reasonable attorneys fee…” 254 B.R. at 42. Compare this provision with

   that of Paragraph 11 of the Independent Contractor Agreement between Superior

   and Debtor, reproduced here (a copy of the Independent Contractor Agreement is

   attached hereto as Exhibit 2):




   The language of the Independent Contractor Agreement does not preclude the

   possibility of recovering fees in dischargeability litigation and contains extremely

   broad language, whereas the promissory note at issue in In re Shahid was limited

   specifically to collection activity.   Thus, setting aside from the stark factual

   differences of In re Shahid, Debtor incorrectly argues that “the same reasoning” of

   In re Shahid “for disallowing attorneys fees applies herein.” Response Brief, p. 20-

   21. As the prevailing party in the Adversary Proceeding, Superior is entitled to

   recover its attorneys fees and costs as part of its non-dischargeable debt.


                                     CONCLUSION

         The Bankruptcy Court erred in its assessment of Cohen and 11 U.S.C. §

   523(a)(2)(A) with respect to the Debt. Superior is entitled to recovery of its fees and

   costs expended in successful dischargeability litigation because of the fee-shifting

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   provision of the Independent Contractor Agreement, reproduced above, and in

   accordance with In re Busch, Traveler’s, and Butner.

   DATED this 21st day of November, 2017.

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                            CERTIFICATE OF SERVICE

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